                         UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF PENNSYLVANIA
In re:


Kim R. Cangiano,                                            Chapter         13

          Debtor 1
                                                            Case No.        5:19−bk−04294−RNO


                                                       Order


    Upon consideration of the Motion to dismiss the case, and having afforded notice and an opportunity for hearing,

    ORDERED that the case is hereby dismissed as to Debtor 1.

   Notwithstanding the dismissal of this case, the court retains jurisdiction over timely requests for payment
of compensation.


Dated: October 29, 2019                                    By the Court,




                                                           Honorable Robert N. Opel, II
                                                           United States Bankruptcy Judge
                                                           By: DDunbar, Deputy Clerk

ordsmiss (05/18)




      Case 5:19-bk-04294-RNO            Doc 12 Filed 10/29/19 Entered 10/29/19 15:14:31                   Desc
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